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 1                IN THE UNITED STATES MAGISTRATE COURT
                        WESTERN DISTRICT OF TEXAS
 2                           EL PASO DIVISION

 3
     UNITED STATES OF AMERICA         )
 4                                    )
     v                                )   No. EP:17-MJ-04409(1)MAT
 5                                    )
     ELBA LUZ DOMINGUEZ-PORTILLO      )
 6

 7                           INITIAL APPEARANCE
                   BEFORE THE HONORABLE MIGUEL A. TORRES
 8                    UNITED STATES MAGISTRATE JUDGE
                              OCTOBER 23, 2017
 9

10   APPEARANCES:

11   ****NONE ANNOUNCED*****

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20   Interpreter:              Provided as required

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23   Proceedings recorded by electronic recording.

24   Transcript produced by Rhonda McCay, CSR, RPR.

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 1               (Proceedings called to order)

 2               THE COURT:   All right.   Agents, please, raise

 3   your right hand.

 4               (Agents sworn)

 5               THE COURT:   All right.   Have a seat, please.

 6               All right.   If anybody that is being assisted

 7   by the interpreter that's using the headset, if you have

 8   trouble with the headset during the hearing, please,

 9   make sure you get my attention or the interpreter's

10   attention right away so that we can take care of that

11   problem, please.

12               I'm going to ask all of you, please, as I'm

13   sure the interpreter has told you, to, please, answer in

14   a good strong voice so that we can hear you loud and

15   clear, and so that she can hear you loud and clear,

16   please.

17               Okay.   We are here to conduct your initial

18   appearance today.

19               I'm Judge Torres.   At this hearing, I will

20   advise you of the charges that you face, of the rights

21   that you have.      i will advise you -- I'm required to

22   tell you of the possible maximum punishment that you can

23   face.

24               I will give you information regarding your

25   attorney, time and date of your next hearing, and I'll



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 1   also discuss your situation regarding bond.

 2               Now, I need to advise you of some important

 3   rights at this time.

 4               First, you do have the right to remain silent.

 5   You don't have to answer any questions about your case.

 6   Anything that you say can be used against you in court.

 7               Starting with those of you that are sitting

 8   here against the wall over here to my left, do you

 9   understand your right to remain silent?

10               (All respond "Yes")

11               THE COURT:   Okay.    In the back row over here to

12   my left, do you understand your right to remain silent?

13               (All respond "Yes")

14               THE COURT:   Okay.    And, actually, on this side

15   of the room, do all of you understand your right to

16   remain silent?

17               (All respond "Yes")

18               THE COURT:   Now, you also have the right to an

19   attorney.      You can hire the attorney of your choice or I

20   will appoint one for you if you cannot afford an

21   attorney.

22               Starting with those of you sitting against the

23   wall over here, do you understand that you have the

24   right to have a lawyer represent you on these charges?

25               (All respond "Yes")



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 1               THE COURT:   In the back row over here to my

 2   left, do you understand that you have the right to have

 3   a lawyer represent you on these criminal charges?

 4               (All respond "Yes")

 5               THE COURT:   Okay.    And over here on this side

 6   of the room, do you understand that you have the right

 7   to have a lawyer represent you on these charges?

 8               (All respond "Yes")

 9               THE COURT:   Okay.    And if you don't have the

10   money to hire a lawyer, I will appoint a lawyer for you.

11               Is there anybody here who has already hired an

12   attorney?

13               (No response)

14               THE COURT:   Okay.    Then I will appointing a

15   lawyer for all of you who cannot afford one.

16               Let me go ahead and ask some questions

17   regarding your finances.         I need to make sure that you

18   qualify for an appointed lawyer, so I need to take some

19   information before I do that.

20               Stand up if any of these -- if your answer is

21   in the affirmative to any of these questions, if your

22   answer is yes to any of these questions.

23               Does anybody -- does anybody in this group own

24   their own home or any land our buildings?         Anybody?

25               (No response)



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 1               THE COURT:   Okay.    For the record, there are no

 2   affirmative answers to that question.

 3               Is there anybody here who has over $500 in any

 4   bank account they have access to or in their jail

 5   commissary?

 6               (No response)

 7               THE COURT:   For the record, let me note that

 8   nobody has answered in the affirmative.

 9               Based on this information, I will qualify you

10   for an appointed lawyer.

11               Now, let me go ahead and call on you

12   individually.      If you would please stand up and remain

13   standing when I call your name and also please say

14   "Present" when I call your name.

15               (Proceedings continued but are not made a part

16   of this record)

17               THE COURT:   Elba Luz Dominguez-Portillo?

18               THE DEFENDANT:    Present.

19               (Proceedings continued but are not made a part

20   of this record)

21               THE COURT:   Okay.    That's all of you.   So each

22   one of you is charged with a misdemeanor offense of

23   illegal entry or illegal entry into the United States.

24   This is a misdemeanor charge.        It carries a possible

25   sentence of anywhere from no time in jail up to a



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 1   possible maximum of six months in jail, a fine of

 2   anywhere from zero up to $5,000 and a $10 special

 3   assessment.        That is the possible maximum sentence.

 4               In each one of your cases, I am setting bond at

 5   $5,000 cash or corporate surety.

 6               Now, if any you have have any intention of

 7   either yourselves or your family paying your bond, I

 8   would strongly recommend that you speak to your attorney

 9   before you make that financial commitment.        Your

10   attorney may make you aware of certain facts that could

11   influence your decision as to whether or not you put

12   down this money.        So just talk to your attorney if

13   you're thinking about doing that.

14               For those you have that are standing up against

15   the wall over here -- who is the last one?        Let me have

16   a moment.

17               (Proceedings continued but are not made a part

18   of this record)

19               THE COURT:     Everybody from Mr. Hernandez-Neti

20   [phonetic] on this way, so all of you against the wall

21   over here, I'm appointing Omar Carmona to represent you.

22   And he's an attorney in private practice that takes

23   appointments in criminal cases like this.        Your court

24   hearing is set -- your next court hearing is set on

25   November 1st at 2:00 in the afternoon.



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 1               (Proceedings continued but are not made a part

 2   of this record)

 3               THE COURT:   Now, let me just tell you briefly,

 4   at this next court hearing, several things can happen,

 5   and it's basically whatever your decision is.            You can

 6   ask for more time, if you need more time, to prepare

 7   your case or your defense.

 8               You can ask for a trial.      A trial is a

 9   proceeding in which you are contesting these criminal

10   charges against you.

11               If you ask for a trial, I'll do my very best to

12   set you for a trial within two weeks, three weeks at the

13   most, all right?     Or on that day, you can also plead

14   guilty and be sentenced on that day, if you decide.

15               Now, talk to your attorney first.      Your

16   attorney will be by to see you sometime this week, and

17   your attorney will give you advice as to how he thinks

18   you should proceed, and then you can make up your own

19   minds as to what you want to do, and you can let me know

20   on this next court hearing on November 1st in all of

21   your cases.

22               I want to also inform all of you -- each one of

23   you that -- it's probably hard to see from where you're

24   standing -- but each one of you is charged by a document

25   that looks something like this.        The important things in



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 1   that document are that they list the date of your

 2   alleged offense, okay -- and you are just accused at

 3   this time -- the date of your alleged offense, the place

 4   of your alleged offense, and there is an affidavit sworn

 5   to by one of the agents involved in your case that

 6   describes and details the facts in support of this

 7   allegation by the government.        Of course, it's an

 8   allegation and you do have the right to contest it.

 9               Your attorney will answer all of these

10   questions for you.

11               Now, have all -- is there -- have all of you

12   understood everything I've just discussed with you?

13               (All respond "Yes")

14               THE COURT:   Okay.    Is there anybody here that

15   did not understand something that I just went over with

16   you?    Anybody?

17               (No response)

18               THE COURT:   Is there also anybody in this group

19   that was accompanied by either their minor child or a

20   minor sibling?     Somebody below the age of 18.     Anybody

21   in the group?

22               (No response)

23               THE COURT:   I mean, a relative is what I'm

24   talking about.

25               Ma'am -- and it's Ms. -- let me have just a



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 1   moment -- Ms. Dominguez-Portillo.         May I ask you, who

 2   was accompanying you?

 3               THE DEFENDANT:   My daughter.

 4               THE COURT:   How old is she?

 5               THE DEFENDANT:   16.

 6               THE COURT:   May I ask you her name?

 7               THE DEFENDANT:   Jocelyn Paola.

 8               THE COURT:   Dominguez also?

 9               THE DEFENDANT:   Luna-Dominguez.

10               THE COURT:   Luna-Dominguez.

11               THE COURT:   When you were arrested, at the time

12   of your separation, were you provided any information as

13   to how to find out about her whereabouts or her

14   well-being?

15               THE DEFENDANT:   No.   They did not want to tell

16   me.

17               THE COURT:   They didn't give you any paperwork?

18               THE DEFENDANT:   No.

19               THE COURT:   Well, ma'am, please, discuss this

20   with your attorney, okay?      And your attorney may be able

21   to assist you in at least finding out some basic

22   information about where she is.       Okay.    Is there

23   anybody -- just make sure you discuss that with your

24   attorney when your attorney goes out to see you,

25   Mr. Carmona.



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 1               Anybody else like Ms. Dominguez, who was

 2   accompanied by a minor child or a minor sibling?

 3   Anybody?

 4               (No response)

 5               THE COURT:   Okay.    Very well.   Then, you will

 6   be meeting with your attorney in the very near future.

 7   Hopefully, this week.       Your attorney will explain to you

 8   in detail everything that we've discussed today.

 9               In a few minutes, you will receive written

10   notice that your hearing has been set.         This written

11   notice will contain the name and contact information of

12   your lawyer should you need to reach your lawyer before

13   they go out to visit.

14               At this point, I'll turn you over to the

15   custody of the U.S. Marshals.        We're in recess.

16               (Proceedings concluded)

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 1                 CERTIFICATE OF ELECTRONIC RECORDING

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 3                      I, Rhonda McCay, CSR, RPR, certify that the

 4   foregoing is a correct transcription from the electronic

 5   recording of the proceedings in the above-entitled

 6   matter.

 7                      I further certify that I am neither counsel

 8   for, related to, nor employed by any of the parties to

 9   the action in which this electronic recording was taken,

10   and further that I am not financially or otherwise

11   interested in the outcome of the action.

12                      Signed this 7th day of November, 2017.

13

14

15        /s/ Rhonda McCay_____________
          Rhonda McCay, RPR, CSR 4457
16        Date of Expiration: 12/31/2018
          REPORTERS INK, LLC
17        221 North Kansas, Suite 1101
          El Paso, Texas 79901
18        Ph.: 915.544.1515

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